                            UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF MISSOURI

GUADALUPE ADAMS,                                  )
                                                  )
       Plaintiff,                                 )
                                                  )
       vs.                                        )   Case No. 6:15-CV-3263
                                                  )
NET LEASE FUNDING 2005, LP,                       )
                                                  )
       Defendant.                                 )

                      SECOND MOTION FOR EXTENSION OF TIME
                        TO RESPOND PLAINTIFF’S COMPLAINT

       COMES NOW Defendant, Net Lease Funding 2005, LP, by and through its attorneys of

record, Carnahan, Evans, Cantwell & Brown, P.C., and for its Second Motion for Extension of

Time to Respond to Plaintiff’s Complaint, state as follows:

       This case is preliminarily settled, but Defendant’s responsive pleadings are due

September 24, 2015. The parties are still in the process of working out the details of the

preliminary settlement. Defendant is located out of state and more time is needed than originally

anticipated to coordinate and finalize the settlement. Defendant therefore requests an additional

10 days up to and including October 5, 2015 to answer or otherwise respond to the Complaint.

Defendant anticipates that the case will be dismissed with prejudice prior to that time. Plaintiff

consents to the filing of this Motion.

       WHEREFORE, Defendant respectfully requests that the Court grant its Second Motion

for Extension of Time to Respond to Plaintiff’s Complaint, up to and including October 5, 2015;

and for such other and further relief as this Court deems just and proper.




         Case 6:15-cv-03263-MDH Document 13 Filed 09/22/15 Page 1 of 2
                                            Respectfully submitted,

                                            /s/ Richard B. Maltby
                                            Richard B. Maltby
                                            Missouri Bar No. 54003


CARNAHAN, EVANS, CANTWELL &
BROWN, P.C.
2805 S. Ingram Mill Road
Springfield, MO 65804
(417) 447- 4400 telephone
(417) 447- 4401 facsimile
Email: rmaltby@cecb.com
Attorneys for Defendant


                               CERTIFICATE OF SERVICE

        The undersigned certifies that a complete copy of the foregoing was filed with the Court
via the ECF system and served upon Pete M. Monismith, attorney for Plaintiff, via U.S. Mail, on
the 22nd day of September, 2015.

                                            /s/ Richard B. Maltby
                                            ___________________________________
                                            Attorney of Record



582552.doc




                                               2

             Case 6:15-cv-03263-MDH Document 13 Filed 09/22/15 Page 2 of 2
